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FOR THE NORTHERN DISTRICT OF TEXAS hes
FORT WORTH DIVISION, AEC 20 200

UNITED STATES OF AMERICA CLE LA RAS TRLG Ps rey
Vv. No, 4:22-MJ- 1019
ANTHONY WAYNE EYLAR (01)
CRIMINAL COMPLAINT
Conspiracy to Possess a Controlled Substance with Intent to Distribute

In and around December 2022, in the Fort Worth Division of the Northern District of
Texas, and clsewhere, the defendant, Anthony Wayne Eylar along with others known and
unknown, did knowingly and intentionally combine, conspire, confederate, and agree to engage
in conduct in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), namely to possess with intent to
distribute 500 grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance,

In violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(A)).

I, the undersigned Complainant, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:
I. In November 2022, the Fort Worth Police Department received a Crime Stoppers tip
related to a wanted fugitive who was also distributing narcotics. The wanted fugitive was
identified as K.D. who was wanted by the Tarrant County Sherriff’s office on an outstanding
felony warrant for Manufacture/Delivery of a Controlled Substance PG 1 4g<200g. The tip also

said that K.D and her boyfriend “Tony” were selling a lot of drugs, to include

methamphetamine, psilocybin mushrooms, and marijuana.

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2. FWPD Investigator W. Snow #3450 conducted research on K.D and the vehicle that was
associated with her; Investigator Snow discovered that K.D frequently stayed at hotels/motels,
usually for one or two days at a time. Investigator Snow knows that wanted fugitives will not
stay at one place extended periods of time because they are trying to elude law enforcement.
The vehicle that K.D was driving was registered to P.C.

3. On or about November 29, 2022, the Crime Stoppers tip was updated with new
information about K.D and “Tony”. The new information stated that K.D and “Tony” were in
possession of pound-quantities of methamphetamine, thousands of dollars in U.S. Currency, and
firearms, The tip also indicated that “Tony” had a storage unit located at XXXX N. Riverside
Drive, Fort Worth, Tarrant County.

4, On December 5, 2022, Investigator Snow went to XXXX N. Riverside Drive and noticed
that the name of the business was Storage Depot. Investigator Snow met with business
employees and inquired about “Tony” and if he had a storage unit at this location. Employees
informed Investigator Snow that they were familiar with “Tony”, and that his first name was
Anthony. Employees stated that “Tony” actually had two storage units at this complex, which
were #307 and #330. Employees stated that those storage units were actually rented by P.C.
P.C, first obtained unit #307 in November 2021, and then obtained unit #330 in April 2022.
Employees never saw P.C. with “Tony” and knew “Tony” to drive a white single cab Dodge
Ram pick-up with a blue passenger door. “Tony” spoke with management and asked about
being granted 24-hour gate access since he told management his business hours were often after

normal gate access hours.

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Most customers can only access their storage units between 6:00a.m-10:30p.m. Once “Tony”
was granted 24-hour gate access, employees started to notice a lot of gate activity after
10:30p.m. and up till 5:00a.m. Employees said that it looked like a lot of in-out activity within a
short period of time, as a unique code that is associated with each individual storage unit had to
be entered to access the gate. This is how employees were able to distinguish this large amount
of traffic being associated with “Tony’s” storage units as opposed to others. Employees started
to review storage surveillance cameras and noticed multiple people/vehicles coming to the
business after hours. It appeared that “Tony” would then meet with those individuals outside the
gate area. The employees stated that “Tony” would meet with the vehicles out front and either
get into those vehicles or walk them back towards his storage unit. Employees stated that they
would often see “Tony” mostly around unit #307 but that “Tony” would also spend time at unit
#330. Employees thought this type of behavior was odd and they thought “Tony” was doing
drug deals from units 307 and 330.

5, With this information, Investigator Snow conducted research on “Tony” and was able to
identify him as Anthony Wayne Eylar, a white male, DOB XX/XX/1974 (herein after referred to
as Eylar). Investigator Snow noted that Eylar was wanted by the Texas Pardon and Parole
Board for a Parole Violation for the offense of Possession with the Intent to Deliver a Controlled
Substance PG | 4g<200g Methamphetamine, Investigator J. Fields #3242 conducted research
utilizing the Flock License plate reader system to identify Eylar’s Dodge Pick-up truck. The
vehicle was identified as a white single cab 2003 Dodge Ram Pick-up truck. Upon looking at

the photos of the pick-up, investigators noticed that the passenger door was blue in color.

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Investigator Snow was also able to get a copy of the customer records that showed Eylar is a
contact/access user. Since October 1, 2022, Eylar has accessed the entry gate 153 times and the
exit gate 146 times. Investigator Snow showed the employees a photograph of Eylar and they
positively identified Eylar as the person they know as “Tony”. Employees have only seen P.C
twice, the first time when she rented Unit #307 on November 9, 2021, and again on April 12,
2022, when she rented Unit #330,

6. On December 8, 2022, Investigator Snow met with employees again and contacted the
regional manager who gave investigators consent to be at their location and allowed a K-9 to be
deployed on their property. Investigator Snow contacted Fort Worth Police Officer J. Lopez
#4192 who is assigned to the Fort Worth Police Department’s Interdiction K-9 Unit. Officer
Lopez is a K-9 handler and is assigned a K-9 narcotics detection dog. Officer Lopez and his K-
9 partner Ajax (NNDDA #55129) are certified in narcotics detection. On the aforementioned
date, Officer Lopez and Ajax arrived at XXXX N. Riverside Drive and conducted an open-air
sniff of storage units #307 and #330. K-9 Ajax showed interest/change in behavior on Unit
#330 but was unable to pinpoint the location of the narcotics. K-9 Ajax then conducted an open
air-sniff of Unit #307 and gave Officer Lopez a positive alert to the presence of narcotics in that
unit, Due to K-9 Ajax not having a lot of experience at storage unit sniffs, Officer Isbell #4025
was contacted as well since his K-9 partner Lulu (NNDDA #55128) has extensive training and
deployments on storage units. K-9 Lulu gave a positive alert to the presence of narcotics in Unit

#307 but did not give a positive alert on Unit #330.

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7. After the K-9's conducted their open-air sniffs, Investigator Snow drafted probable cause
search warrants for both unit #307 and #330 based on the above information. On this same
date, Investigator Snow presented both search warrants to Fort Worth Municipal Court Judge
Andrew Bradshaw who reviewed both warrants and signed them into effect at 1:29p.m.; they
were assigned watrant numbers 2022SW001733 and 2200S W001734.

8, With warrants signed, employees accompanied investigators to the storage units and cut
off both locks for investigators. Investigators first started with Unit #330. Upon opening the
unit, investigators noticed that it was cluttered with two motorcycles, appliances, mattresses,
TV's and a dresser that was located near the roll up door. Officer Lopez searched the dresser
and located a black Desert Eagle .40 caliber pistol (S/N:34313558) in the drawer. A magazine
containing 10 live rounds was inserted into the gun, but it was not chambered. The pistol was in
a holster and an additional magazine containing 9 live rounds was attached to the front of the
holster. No other items were located inside that unit.

9. Investigators then went to Unit #307 and again noticed that it was also cluttered with a
motorcycle, clothing, tools, bags and other miscellaneous items. Investigators conducted the
search of the unit and located several backpacks, tool bags and plastic grocery bags that all
contained various sized plastic baggies that each contained a crystal-like substance believed to
be methamphetamine based upon investigators training and experiences as police officers. The
field weight of the individual bags varied from igm to 1006gm and investigators located 56
baggies in total. The total combined weight of the baggies containing the crystal-like substance
was 5,114.6gm. The crystal-like substances were tested using the Ramen TruNarc Spectrometer

and investigators received a presumptive positive result for methamphetamine.

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In a black backpack, investigators additionally located clear plastic baggies that contained a
green plant like substance believed to be marijuana based upon investigators training and
experiences as police officers.

10. Although I have not listed all the facts regarding the numerous offenses of Anthony
Wayne Eylar, I believe that the facts stated here establish probable cause that Anthony Wayne

Eylar, has committed a violation of 21 U.S.C. § 846, Conspiracy to Possess Methamphetamine

ef —

Special Agent Sheldon Jones
Homeland Security Investigations

with the intent to distribute.

SWORN AND SUBSCRIBED before me on this 25” day of December 2022, at
238 api/p.m.., in Fort Worth, Texas.

  
 

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ATES MAGISTRATE JUDGE

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